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 5
     Attorney for Defendant CORINA MUNIZ
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT FOR THE
 9                             EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )             CASE NO. CR-F-06-00201OWW
                                   )
12             Plaintiff,          )            STIPULATION TO CONTINUE
                                   )            VIOLATION HEARING, AND
13   vs.                           )            ORDER THEREON; EXCLUDED TIME
                                   )
14   CORINA MUNIZ                  )
                                   )
15                                 )            Old Date: August 24, 2007
               Defendant.          )           NEW DATE: August 31, 2007
16   ______________________________)            TIME:     1:30 p.m.
                                                JUDGE:    Sandra M. Snyder
17
18                                      STIPULATION
19           It is hereby stipulated by and between the parties hereto
20   that the violation hearing in the above entitled matter
21   now set for August 24, 2007, may be continued to August 31, 2007
22   at 1:30 p.m. before Judge Snyder.
23           The reason for this continuance is that Defendant’s counsel
24   has a calendar conflict on August 24, 2007.
25           The parties agree that time shall be excluded pursuant to 18
26   U.S.C. §§ 3161, subd.(h)(8)(A) and (B) in that the ends of justice
27   served by the continuance outweigh the best interest of the public
28   and the defendant in a speed trial, since the failure to grant


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 1   such a continuance would deny counsel for the defendant the
 2   reasonable time necessary for effective preparation, taking into
 3   account the exercise of due diligence.
 4   DATED: August 14, 2007              FLETCHER & FOGDERUDE, Inc.
 5
                                         /s/ Eric K. Fogderude
 6                                       ERIC K. FOGDERUDE
                                         Attorney for Defendant,
 7                                       CORINA MUNIZ
 8
     Dated: August 14, 2007              McGREGOR W. SCOTT
 9                                       United States Attorney
10                                       /s/ Kim Sanchez
11                                       KIM SANCHEZ
                                         Assistant US Attorney
12
13                                        ORDER
14
              IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C.
15
     § 3161, subd.(h)(8)(A) and (B).         For the above stated reasons, the
16
     court finds that the ends of justice served by the delay outweigh
17
     the best interest of the public and the defendants in a speedy
18
     trial. Therefore, the court grants the stipulation that the
19
     hearing be reset from August 24, 2007 to August 31, 2007 at 1:30
20
     p.m. before Judge Snyder.
21
22
23
     IT IS SO ORDERED.
24
     Dated:     August 16, 2007               /s/ Sandra M. Snyder
25   icido3                            UNITED STATES MAGISTRATE JUDGE
26
27
28


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